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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

KAREEM BYNUM,                             )
an individual,                            )
                                          )
              Plaintiff,                  )
vs.                                       )                CASE NO.: 1:13-cv-188
                                          )
WASHINGTON SQUARE MALL, LLC,              )
a Delaware Limited Liability Company,     )
and                                       )
TARGET CORPORATION,                       )
a Minnesota Corporation,                  )
and                                       )
D&K RETAIL PROPERTIES, LLC,               )
an Indiana Limited Liability Company,     )
                                          )
              Defendants.                 )
__________________________________________)

                                        COMPLAINT

       Plaintiff, KAREEM BYNUM through his undersigned counsel, hereby files this

Complaint and sues   WASHINGTON SQUARE MALL, LLC, a Delaware Limited Liability

Company, TARGET CORPORATION, a Minnesota Corporation, and D&K RETAIL

PROPERTIES, LLC, an Indiana Limited Liability Company, for injunctive relief, attorneys’ fees

and costs pursuant to 42 U.S.C. § 12181 et seq., (“AMERICANS WITH DISABILITIES ACT”

or “ADA”) and alleges:

                              JURISDICTION AND PARTIES

       1.     This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. § 12181, et seq., (hereinafter referred to as the

“ADA”). This Court is vested with original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343.



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       2.      Venue is proper in this Court pursuant to 28 U.S.C. §1391(b).

       3.      Plaintiff, KAREEM BYNUM, (hereinafter referred to as “MR. BYNUM”), is a

resident of Florida.

       4.      KAREEM BYNUM is a qualified individual with a disability under the ADA and

Florida Statutes. In 2003, MR. BYNUM suffered a gunshot wound to his back resulting in

trauma to his T4 and T5 vertebrae which resulted in his paralysis from the waist down.

       5.      MR. BYNUM’s disability, at all times material hereto, impairs his ability to walk

and stand, a major life activity, and requires him to use a wheelchair to ambulate.

       6.      Defendant WASHINGTON SQUARE MALL, LLC, (hereinafter referred to as

“WASHINGTON SQUARE” or collectively as “DEFENDANTS”) is a Delaware Limited

Liability Company registered to do business in the State of Indiana. Upon information and

belief, WASHINGTON SQUARE is the owner, lessee, and/or operator of the real property and

improvements, a shopping mall, which is the subject of this action, to wit: the “Property”

Washington Square Mall, generally located at 10202 E. Washington St., Indianapolis, Indiana

46229. Defendant is responsible for complying with the obligations of the ADA.

       7.      Defendant TARGET CORPORATION, (hereinafter referred to as “TARGET” or

collectively as “DEFENDANTS”) is a Minnesota Corporation registered to do business in the

State of Indiana. Upon information and belief, TARGET is the owner, lessee, and/or operator of

the real property and improvements which is the subject of this action, to wit: Target at

Washington Square Mall, generally located at 10202 E. Washington St., Indianapolis, Indiana

46229. Defendant is responsible for complying with the obligations of the ADA.




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        8.      Defendant D&K RETAIL PROPERTIES, LLC, (hereinafter referred to as

“D&K” or collectively as “DEFENDANTS”) is an Indiana Limited Liability Company

registered to do business in the State of Indiana. Upon information and belief, D&K is the

owner, lessee, and/or operator of the real property and improvements which is the subject of this

action, to wit: Indy Wholesale Furniture at Washington Square Mall, generally located at 10202

E. Washington St., Indianapolis, Indiana 46229. Defendant is responsible for complying with

the obligations of the ADA.

        9.      All events giving rise to this lawsuit occurred in the Southern District of Indiana.

                          COUNT I - VIOLATION OF TITLE III OF THE
                            AMERICANS WITH DISABILITIES ACT

        10.     Plaintiff realleges and reavers the preceding paragraphs as if they were expressly

restated herein.

        11.     The Property is a shopping mall and is open to the public and provides goods and

services to the public.

        12.     Plaintiff MR. BYNUM visited the Property numerous times and has attempted to

utilize the facilities offered at the Property.

        13.        Plaintiff MR. BYNUM often visits Indianapolis, Indiana to see his friends and

family who reside there.

        14.     While at the property, MR. BYNUM experienced serious difficulty accessing the

goods and utilizing the services therein due to the architectural barriers discussed herein.

        15.     MR. BYNUM continues to desire to visit the Property, but fears that he will

continue to encounter serious difficulty due to the barriers discussed herein, which still exist.




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       16.     MR. BYNUM plans to and will visit the Property in the near future to utilize the

goods and services offered thereon.

       17.     Defendants are in violation of 42 U.S.C. § 12181 et seq. and 28 C.F.R. § 36.302 et

seq. and are discriminating against the Plaintiff due to, but not limited to, their failure to provide

and/or correct, the architectural barriers to access below, which were personally encountered by

and hindered Plaintiff’s access to the Property:

               A.      Plaintiff encountered difficulty parking throughout the Property, especially

                       near Target, Burlington Coat Factory, Indy Wholesale Furniture, and the

                       main mall entrance due to parking designated as accessible containing

                       excessive slopes and pavement in severe disrepair;

               B.      Plaintiff also encountered difficulty parking throughout the Property,

                       especially near Indy Wholesale Furniture due to accessible parking which

                       lacked proper signage;

               C.      Plaintiff encountered difficulty gaining access to the stores due to routes

                       designated as accessible throughout the Property, especially near Indy

                       Wholesale Furniture, the main mall entrance, and Burlington Coat Factory

                       due to excessive slopes, uneven surfaces, and pavement in severe

                       disrepair; and

               D.      Plaintiff experienced inaccessible curb cuts throughout the Property

                       including, but not limited to, those near Target, Indy Wholesale Furniture,

                       Buffalo Wild Wings, and Burlington Coat Factory due to excessive slopes,




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                        steep side flares, failure to provide a smooth transition, excessive lips, and

                        pavement in severe disrepair.

        18.     Defendants either do not have a policy to assist people with disabilities or refuse

to enforce such a policy if it does exist.

        19.     Independent of his intent to return as a patron to the Property, Plaintiff

additionally intends to return to the Property as an ADA tester to determine whether the barriers

to access stated herein have been remedied.

        20.     Removal of the barriers to access located on the Property is readily achievable,

reasonably feasible and easily accomplishable without placing an undue burden on Defendants.

        21.     Removal of the barriers to access located on the Property would allow Plaintiff to

fully utilize the goods and services located therein.

        22.     The Plaintiff has been obligated to retain undersigned counsel for the filing and

prosecution of this action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs, and

expenses paid by Defendants.

        WHEREFORE, the Plaintiff demands judgment against DEFENDANTS, and requests

the following injunctive and declaratory relief:

        A.      That the Court declares that the Property owned and operated by

                Defendants is in violation of the ADA;

        B.      That the Court enter an Order directing Defendants to alter their

                facility to make it accessible and useable by individuals with

                disabilities to the full extent required by Title III of the ADA;




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     C.    That the Court enter an Order directing Defendants to evaluate and

           neutralize their policies and procedures towards persons with

           disabilities for such reasonable time so as to allow Defendants to

           undertake and complete corrective procedures.

     D.    That the Court award reasonable attorneys’ fees, costs (including

           expert fees), and other expenses of suit, to the Plaintiff; and

     E.    That the Court awards such other and further relief as it deems

           necessary, just and proper.



                                                  Respectfully Submitted,


                                                  KU & MUSSMAN, P.A.
                                                  Attorneys for Plaintiff
                                                  12250 Biscayne Blvd., Suite 406
                                                  Miami, FL 33181
                                                  Tel: (305) 891-1322
                                                  Fax: (305) 891-4512


                                          By:      /s/ Eric C. Bohnet           .




                                                  KU & MUSSMAN, P.A.
                                                  Attorney for Plaintiff
                                                  Eric C. Bohnet, Esq.
                                                  Attorney No. 24761-84
                                                  Attorney at Law
                                                  6617 Southern Cross Drive
                                                  Indianapolis, Indiana 46237
                                                  Tel: (317) 750-8503
                                                  ebohnet@gmail.com




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